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aai-¥ covt\qdiN RE: OIL SPILL by “Deepwater Horizon”
TRE ge OY
Q880°" es DIRECT FILING SHORT FORM’

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ue 9, Atthorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
vO es of nai er having also been filed in Civil Actions No. 10-8888 and 10-2771)
we, th.

‘By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al, in No. 410-2771; and/or Intervene into, join and otharwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed In MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (40 md 2179). : ,

Last Name First Name | Middle Name/Maiden | Sufix
Jones DB ha nnn hn LS
Phone Number | E-Mail Address
SO ~ OSE LEED lh eT. O bee sirelh., WEE
; City State / Zip

INDIVIDUAL CLAIM | BUSINESS CLAIM
Employer Name — Business Name
| acbess pac Dreams. . - en
Job Title / Description =, Type of Business
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Address | Address
God. Suchgrime flud ee el ete ins eet ete seams enti ane
City / State / Zip | City / State / Zip
- Wamu, ot. Nb 7a... | i
Last4 digits of your Social Security Number Last 4 digits of your Tax ID Number
Attomey Name Firm Name
| Address - a Clty / State / Zip oe —

Phone Number — E-Mail Address

Claim filed with BP? Yes [J Claim Fited with GCCF?: YES NO o
if yes, BP Claim No.: yes, Claimant Identification No.: ADAO eB lo Cc
Claim Type (Please check all that apply):
Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Profit Loss Loss of Subsistence use of Natural Resources
Personal tnjury/Death Removal and/or dean-up costs
Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Loulsiana, 500 Poydras Street, New Orieans, Louisiana 70130, in Chil Action No.
10-388, While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, iRec. Doc. 246, CA. No. 10-2771 and Rec. Goc. 982 in MOL
2179), the filing of this form in CA. No, 10-8888 shall be deemed to be simuttaneously filed In C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptty serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shall also serve in iieu of tha requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For earings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred, For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

The filing of this Direct Filing Short Form shail also serve in iieu of the requirement of a Plaintiff to fife a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle BT)

CL} 1. Commercial fisherman, shrimper, crabber, or oysterman, oF the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.

Ol 2, Seafood processor, distributer, retait and seafood market, or restavrant owner and operator, or an ermployee therect.

0 3. Recreational business owner, operator or worker, including a tecreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

Oo 4. Commercial business, business owner, operator OF worker, induding commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

oO 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
oO 6. _—-Piant and dock worker, including commercial seafood plant worker, longstioreman, or ferry operator.

Ci? Owner, lessor, oF jesse of real property alleged to be damaged, harmed of impacted, physicaily or economically, including
lessees of oyster beds.

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i 2. sank, finance nsitution, oF etait business tat aered Tonses a6 6 rel ofthe SP

oO 10. Person who utilizes natural resources for subsistence.

(L711. Other: A}25

[[].1. Boat captain or crew involved in the Vessels of Opportunity program.
() 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

C3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed {0 harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Oo 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

5. Resident who lives or works in close proximity to coastal waters.

Cis. Other:

Both BP and the Gulf Coast Claim s Facility (‘GCCF") are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated 2s *Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to fuli coples of same being made available to both
the Plaint#f (or his attomey if applicable} filing this form and PSC through Plaintiff Liaison Counsel.

Dy pad. LELLE

Print Name

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The filing of this Direct Filin

